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AO 245 D (Rev. 03/01) - Judgment in a Criminal Case for Revocation




                                                             UNITED STATES DISTRICT COURT
                                                                   District of New Jersey


 UNITED STATES OF AMERICA

              v.                                                                    CASE NUMBER     3:22-CR-00546-GC-1
 ANTONELLA MARIA BARBA

            Defendant.


                                                            JUDGMENT IN A CRIMINAL CASE
                                                   (For Revocation of Probation or Supervised Release)
                                                 (For Offenses Committed on or After November 1, 1987)


            The defendant, ANTONELLA MARIA BARBA, was represented by BENJAMIN JON WEST, AFPD.

            Violation number 1 through 8 have been dismissed upon motion of the Government.

The defendant admitted guilt to violation number 9 as stated on the violation petition (ECF No. 9).               Accordingly, the court
has adjudicated that the defendant is guilty of the following violation:

 Violation Number                            Nature of Violation

 9                                           Failure to notify PO of change of residence or employment


       As pronounced on June 16, 2025, the defendant is sentenced as provided in pages 2 through 2 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment
are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of any material
change in economic circumstances. Unless modified by this judgment, all fines, restitution, costs, and special assessments
previously imposed in the judgment filed on 11/22/2019 remain in full force and effect, if not already paid.

            Signed this 16th day of June, 2025.


                                                                                    ___________________________
                                                                                    Georgette Castner
                                                                                    U.S. District Judge
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                                                                      SUPERVISED RELEASE
        It is ordered and adjudged that the offender be continued on supervised release subject to all previously imposed
standard and special conditions. The condition of Location Monitoring is revoked as of 6/16/2025.

            You must comply with the following special conditions:

            RESIDENTIAL REENTRY CENTER PLACEMENT (4 months WITHOUT weekend privileges)

            You must reside for a period of 4 months in a community corrections center, halfway house or similar residential
            facility and must observe all the rules of that facility. You will not be eligible for weekend privileges.




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   Upon a finding of a violation of probation or supervised release, I understand that the Court may (1) revoke supervision
or (2) extend the term of supervision and/or modify the conditions of supervision.

    These conditions have been read to me. I fully understand the conditions, and have been provided a copy of them.

  You shall carry out all rules, in addition to the above, as prescribed by the Chief U.S. Probation Officer, or any of his
associate Probation Officers.

                                      (Signed)_____________________________________________________________________
                                                           Defendant                                Date


                                                   _____________________________________________________________________
                                                       U.S. Probation Officer/Designated Witness         Date
